Case 5:04-cv-00176-F Document 1 Filed 02/20/04 Page 1 of 18

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF OKLAHOMA

 

t

_iRieky Thomas and:\iames Wickett,
Plaintiffs,

v.

'l)avid Boren, president of The University

of Oklahoma (“OU”); and the following

members of the OU Board of Regents:
z`G.T. Blankenshi$p,$§tephen F. Bentley,

l‘£Christy Everest, Paul D. Austin?'l`om

Clark,7Jon R. Stuart, and‘ia. Max
Weitzenhoffer; individually and in their
official capacities,

 

Defendants.

CIV+- ®@- 91 76"¥‘

CIV NO.:

 

Fl L.E

 

 

 

 

VERIFIED COMPLAINT

Come now the Plaintiffs, by counsel and pursuant to the Federal Rules of Civil

Procedure, and for their causes of action against Defendants aver the following:

I.

INTRODUCTION

l. This is a civil rights action under 42 U.S.C. § 1983 to protect the constitutional
rights of students at The University of Oklahoma (“University”). By policy and
practice the University unlawfully restricts these rights, as its policies are facially
vague and overbroad, involve content based and viewpoint discrimination, and
unconstitutionally restrict student speech. These constitutional defects give rise to

both facial and as-applied constitutional challenges to the discriminatory policies.

 

Case 5:04-cv-00176-F Document 1 Filed 02/20/04 Page 2 of 18

University policy prohibits student organizations from using funds obtained from
the University of Oklahoma Student Association (“UOSA”) for “[r]eligious
services of any nature.” (“Policy”).
Applying this Policy, Defendants have denied the Plaintiffs and their student
group called the Beacon OU, the right to use these funds to write, print and
distribute a student newspaper containing religious content or viewpoints.
The Policy precludes all student organizations from using UOSA fees for
religious services of any nature, including speech with a religious content or
viewpoint.
To redress the irreparable harm that Plaintiffs are suffering, and have suffered,
under the University’s Policy and practices, Plaintiff seeks a declaratory judgment
that the Defendants’ Policy violates First Amendment rights on its face and as
applied and threatened to be applied to the Plaintiffs and others.
Plaintiffs also seek preliminary and permanent injunctive relief to prevent
Defendants from further enforcing the challenged Policy in a manner inconsistent
with their constitutional rights, and damages.
II.

JURISDICTION AND VENUE
Jurisdiction for this case is based on 28 U.S.C. §§ 1331, 1343, 1367, 2201, 2002,
and 42 U.S.C. §§ 1983 and 1988.
Venue is proper under 28 U.S.C. § 1391 in the Western District of Oklahoma

because this claim arose there.

 

lO.

ll.

12.

13.

l4.

15.

Case 5:04-cv-00176-F Document 1 Filed 02/20/04 Page 3 of 18

III.
IDENTIFICATION OF PLAINTIFF
Plaintiff Ricky Thomas is and was at all times relevant to this Complaint a
resident of the City of Norman, Oklahoma, and a student at the University.
Mr. Thomas is president of the student organization, the Beacon OU,
Plaintiff James Wickett is and was at all times relevant to this Complaint a
resident of the City of Norman, Oklahoma, and a student at the University.
Mr. Wickett is a member of the student organization, the Beacon OU.
IV.
IDENTIFICATION OF DEFENDANTS
Defendant David Boren is and was at all times relevant to this Complaint the
president and chief executive officer of the University. Among other things, he
and his staff are charged with the responsibility for administering and enforcing
the University’s policies as they relate to the allocation of funds to student
organizations, as well as student speech and expressive activities
Defendant G.T. Blankenship is and was at all times relevant to this Complaint
chairman of the Board of Regents of the University. Among other things, he is
charged with the responsibility for enacting and enforcing the University’s
policies as they relate to the allocation of funds to student organizations, as well
as student speech and expressive activities
Defendant Stephen F. Bentley is and was at all times relevant to this Complaint
vice chairman of the Board of Regents of the University. Among other things, he

is charged with the responsibility for enacting and enforcing the University’s

 

16.

l7.

18.

19.

Case 5:04-cv-00176-F Document 1 Filed 02/20/04 Page 4 of 18

policies as they relate to the allocation of funds to student organizations, as well
as student speech and expressive activities

Defendant Christy Everest is and was at all times relevant to this Complaint a
member of the Board of Regents of the University. Among other things, she is
charged with the responsibility for enacting and enforcing the University’s
policies as they relate to the allocation of funds to student organizations, as well
as student speech and expressive activities.

Defendant Paul D. Austin is and was at all times relevant to this Complaint a
member of the Board of Regents of the University. Among other things, he is
charged with the responsibility for enacting and enforcing the University’s
policies as they relate to the allocation of funds to student organizations, as well `
as student speech and expressive activities.

Defendant Tom Clark is and was at all times relevant to this Complaint a member
of the Board of Regents of the University. Among other things, he is charged
with the responsibility for enacting and enforcing the University’s policies as they
relate to the allocation of funds to student organizations, as well as student speech
and expressive activities.

Defendant Jon R. Stuart is and was at all times relevant to this Complaint a
member of the Board of Regents of the University. Among other things, he is
charged with the responsibility for enacting and enforcing the University’s
policies as they relate to allocation of funds to student organizations, as well as

student speech and expressive activities.

 

Case 5:04-cv-00176-F Document 1 Filed 02/20/04 Page 5 of 18

 

20. Defendant A. Max Weitzenhoffer is and was at all times relevant to this
Complaint a member of the Board of Regents of the University. Among other
things, he is charged with the responsibility for enacting and enforcing the
University’s policies as they relate to allocation of funds to student organizations,
as well as student speech and expressive activities

21. Each defendant is sued in his or her official capacity, and in his or her individual
and personal capacity.

V.
STATEMENT OF FACTS

T he Policy

22. The UOSA provides funding for officially recognized student groups on the
University campus.

23. The funds are comprised of fees paid by University students

24. In order to obtain access to this fdnding, student groups must submit a request,
along with a proposed budget each year.

25. Funds are then allocated by the UOSA based upon the Budgetary Committee’s
analysis of the requests made by student organizations

26. The allocation of funds to student organizations is summarized in a bill enacted
by the UOSA each year.

27. The enacted legislation is then approved by the Board of Regents for the
University.

28. Student organizations obtain access to funds allocated to them in a number of

ways, including direct payment to third party vendors

 

29.

30.

31.

32.

Case 5:04-cv-00176-F Document 1 Filed 02/20/04 Page 6 of 18

The UOSA 2004 Account Handbook (“Handbook”) lists the items for which
funds can and cannot be used.

The Handbook prohibits use of funds for “Religious services of any nature”
Under the heading “THE FOLLOWING ITEMS CANNOT BE PURCHASED
WITH UOSA OR STATE FUNDS.” (“Policy”).

The University interprets the Policy as prohibiting use of funds for student
religious expression.

The UOSA will not allocate or distribute money to a student group to pay for any

speech with religious content or viewpoints

Application to the Plaintiffv

33.

34.

35.

36.

37.

38.

The Plaintiffs are members of a student group called the Beacon OU (“Student
Group”) that is officially recognized by the University.

The primary function of the Student Group is publishing and distributing a student
newspaper called the Beacon OU.

In addition to publishing the Beacon OU, the Student Group sponsors seminars
and other meetings on topics such as evolution and creationism.

The first edition of the Beacon OU was printed and distributed on or about
October 11, 2002.

Since that time, 12 editions of the paper have been printed and distributed to
students on the University campus on a monthly basis

Currently, approximately 2,000 copies of the Beacon OU are printed and

distributed each month.

 

39.

40.

41.

42.

43.

44.

45.

46.

47.

48.

49.

50.

Case 5:04-cv-00176-F Document 1 Filed 02/20/04 Page 7 of 18

Each edition of the Beacon OU states: “The opinions expressed herein are not
necessarily those of the University of Oklahoma or its student body.”

The Beacon OU’ s main purpose is to share the genuine love of God to the campus
while providing news from or with a Christian perspective

The Beacon OU prints articles that support life, the traditional family, and
religious freedom from a Christian perspective

The Beacon OU has published, and will continue to publish editorials by students
opposed to Christianity.

On or about September 24, 2003 the Plaintiffs submitted a request for funding
from UOSA for the Student Group.

The budget submitted by the Plaintiffs requested $2,300 to cover the costs of
publishing and distributing the Beacon OU, as well as sponsoring the showing of
two films dealing with creationism and evolution.

On or about November 5, 2003 the UOSA passed a budget for student
organizations in the form of legislation titled “The Student Organizations
Appropriations Act of January 1, 2004 to December 31, 2004.” (“Act”).

The Act allocated $150 to the Plaintiffs’ Student Group.

This Act was approved by the Board of Regents on or about November, 2003.
Another student newspaper called T he Undercurrent was allocated $4,750 in
funds by the Act.

The Undercurrent has similar distribution to the Beacon OU.

T he Undercurrent prints articles on such topics as alternatives to monogamy.

 

51.

52.

53.

54.

55.

56.

57.

58.

Case 5:04-cv-00176-F Document 1 Filed 02/20/04 Page 8 of 18

Upon learning the Student Group was only allocated $150, the Plaintiffs met with
the UOSA Budgetary Committee on or about November 9, 2003.

In the meeting with the Budgetary Committee, the chair, Tim Roberts, stated that
no funding was provided for the Beacon OU because the UOSA is prohibited
from funding a religious service.

Mr. Roberts also stated in the meeting on November 9, 2003 that the UOSA
cannot fund the Beacon OU because it is religious propaganda and takes a stance
on many issues

Mr. Roberts also stated in a meeting on November 18, 2003 that the c43150 that was
allocated to the student group was to be used exclusively for showing the films on
creationism and evolution.

On or about November 20, 2003, Mr. Wickett sent an e-mail to President Boren
informing him of UOSA’s discrimination against the Student Group, referring
him to Rosenberger v. UVA, 515 U.S. 819 (1995), and requesting that he
investigate the situation.

On or about December 3, 2003, Clarke Stroud, Vice President for Student Affairs,
responded on behalf of the President in a letter to Ricky Thomas that denied any
discrimination on the part of UOSA based upon religious content.

On or about December 12, 2003, the Plaintiffs appealed the UOSA’s refusal to
fund the Beacon OU to an ad hoc committee specially set up for that purpose.

The ad hoc committee recommended that an additional $500 be allocated to the

Student Group.

 

59.

60.

61.

62.

63.

64.

65.

66.

Case 5:04-cv-00176-F Document 1 Filed 02/20/04 Page 9 of 18

On or about January 25, 2004 a bill appropriating an additional $500 to the
Student Group pursuant to the ad hoc committee’s recommendation was defeated
by the UOSA’s Graduate Student Senate.
On or about February 4, 2004, Mr. Thomas received a voice mail from the Office
of Student Affairs stating that an additional $500 would be would be deposited in
the Student Group’s account.
Mr. Thomas returned the call on or about February 5, 2004 and asked how the
Student Group could receive additional money if it was not approved by the
UOSA. The assistant who took his call stated that she did not know any details
Upon information and belief, the $500 referred to by the Office of Student Affairs
is not part of any UOSA funding.
Plaintiffs are suffering irreparable harm from the conduct and challenged Policy
of Defendants.
Unless and until the conduct and challenged Policy of Defendants are enjoined,
Plaintiffs will continue to suffer irreparable harm.
VI.

STATEMENT OF LAW
At all times relevant to this Complaint, each and all of the acts alleged herein
were attributed to the Defendants, acting under the color, authority and pretense
of state law, statutes, ordinances, regulations, customs, usages, and policies of the
University and the State of Oklahoma.
Religious speech is entitled to comprehensive protection under the First

Amendment.

 

67.

68.

69.

70.

7l.

72.

73.

74.

Case 5:04-cv-00176-F Document 1 Filed 02/20/04 Page 10 of 18

First Amendment rights of speech, association, and religious freedom extend to
campuses of state universities
Defendants’ Policy and practice of limiting speech are prior restraints, and grant
University officials unfettered discretion in the restriction of expression
Defendants’ Policy is unconstitutional on its face and as applied because it is
overbroad, and impermissibly restricts student expression.
Defendants’ Policy limiting speech is unconstitutional on its face and as applied
because it is vague and overbroad, impermissibly restricts student expression and
association, violates freedom of the press, is a prior restraint, violates freedom of
religion, and grants University officials unfettered discretion in the restriction of
expression.
Plaintiffs are suffering irreparable injury from the challenged Policy and practice
of Defendants, which cannot be fully compensated by an award of money
damages
Pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiffs are entitled to appropriate
relief invalidating the unconstitutional University Policy and practice.
VII.
FIRST CAUSE OF ACTION

VIOLATION OF THE RIGHT TO FREEDOM OF SPEECH
UNDER THE UNITED STATES CONSTITUTION

Plaintiffs reallege all matters set forth in the preceding paragraphs and incorporate
them herein.
The Policy and practice of the Defendants constitute a violation of the First and

Fourteenth Amendments of the United States Constitution, by among other things,

10

 

75.

76.

77.

78.

79.

80.l

Case 5:04-cv-00176-F Document 1 Filed 02/20/04 Page 11 of 18

prohibiting use of student funds to pay for production of a student newspaper with
a Christian perspective

Defendants’ Policy and practice constitutes an impermissible viewpoint-based and
content-based restriction of constitutionally protected expression.

The Policy and practice vest unfettered discretion in the Defendants to restrict
constitutionally protected expression

The Policy and practice of the Defendants are prior restraints and restrictions on
student speech.

The Policy and practice are not content-neutral time, place, and manner
restrictions on expression. Further, they are not narrowly tailored, do not serve
significant government interests, and do not leave open ample alternative
channels of communication, as the Constitution requires

Defendants’ Policy is vague and overbroad,

The Policy and practice restrict students’ freedom of association and are not

supported by a narrowly tailored compelling state interest.

WHEREFORE Plaintiffs respectfully pray that the Court grant the relief set forth

hereinafter in the prayer for relief.

81.

VIII.
SECOND CAUSE OF ACTION

VIOLATION OF THE RIGHT TO FREEDOM OF THE PRESS
UNDER THE UNITED STATES CONSTITUTION

Plaintiffs reallege all matters set forth in the preceding paragraphs and incorporate

them herein.

ll

 

82.

83.

84.

85.

Case 5:04-cv-00176-F Document 1 Filed 02/20/04 Page 12 of 18

The distribution of written expression is a classic example of the exercise of the
right to freedom of the press

No compelling government interest exists to justify the restrictions imposed on
such an exercise of the freedom of the press by the Defendants’ Policy, practices,
and actions, nor is the restriction the least restrictive means available to serve any
permissible government purpose intended to be served by Defendants' Policy and
practices

Defendants’ Policy on its face and as applied imposes a system of prior restraints
on the publication and/or circulation of Plaintiffs’ printed expression This
system of prior restraints is unconstitutional under the First and Fourteenth
Amendments.

By their actions, Defendants have violated Plaintiffs’ rights to distribute literature

expressing his political views

WHEREFORE, Plaintiffs respectfully pray that the Court grant the relief set forth

hereinafter in the prayer for relief.

86.

87.

88.

IX.
THIRD CAUSE OF ACTION

VIOLATION OF THE RIGHT TO DUE PROCESS
UNDER THE UNITED STATES CONSTITUTION

Plaintiffs reallege all matters set forth in the preceding paragraphs and incorporate
them herein

The Policy and practice of the Defendants constitute a violation of the Due
Process Clause of the Fourteenth Amendment of the Constitution.

Defendants’ Policy is vague

12

 

89.

Case 5:04-cv-00176-F Document 1 Filed 02/20/04 Page 13 of 18

Defendants’ Policy and practice fail to adequately advise, notify, or inform

students of what is prohibited.

WHEREFORE, Plaintiffs respectfully pray that the Court grant the relief set forth

hereinafter in the prayer for relief.

90.

91.

92.

93.

X.
FOURTH CAUSE OF ACTION

VIOLATION OF THE EOUAL PROTECTION CLAUSE
UNDER THE UNITED STATES CONSTITUTION

Plaintiffs reallege all matters set forth in the preceding paragraphs and incorporate
them herein.

Defendants’ Policies and practices, on their face and as applied, treat Plaintiffs
and other students and student organizations differently from other similarly
situated individuals and groups on the basis of the religious content of their
speech and religious viewpoint.

Defendants do not have a compelling state interest for such disparate treatment of
religious expression

Therefore, said conduct of Defendants comprises an unconstitutional and
continuing interference and infringement upon the rights of Plaintiffs and other
student groups and individuals to equal protection of the laws as guaranteed by

the Fourteenth Amendment to the United States Constitution.

WHEREFORE, Plaintiffs respectfully pray that the Court grant the relief set forth

hereinafter in the prayer for relief.

13

 

94.

95.

Case 5:04-cv-00176-F Document 1 Filed 02/20/04 Page 14 of 18

XI.
FIFTH CAUSE OF ACTION

VIOLATION OF THE PLAINTIFFS’ RIGHT
TO FREEDOM OF ASSOCIATION

Plaintiffs reallege all matters set forth in the preceding paragraphs and incorporate
them herein

By enacting and enforcing highly restrictive speech polices and solicitation
guidelines that are vague, overbroad and explicitly and implicitly discriminate on
the basis of viewpoint, Defendants, acting under color of state law, have deprived
the Plaintiffs and other students of their clearly established right to freedom of

association secured by the First Amendment to the Constitution.

WHEREFORE, Plaintiffs respectfully pray that the Court grant the relief set forth

hereinafter in the prayer for relief.

96.

97.

98.

XII.
SIXTH CAUSE OF ACTION

IMPOSITION OF UNCONSTITUTIONAL CONDITIONS

 

Plaintiffs reallege all matters set forth in the preceding paragraphs and incorporate
them herein.

By enacting and enforcing the speech-restrictive regulations outlined above and
by banning constitutionally protected speech, Defendants have placed
unconstitutional conditions on the receipt of the government benefits of allocation
of student fees at a state-supported University.

Defendants have deprived Plaintiffs of their clearly established rights to freedom

of speech, press, association, and religion secured by the First Amendment to the

14

 

Case 5:04-cv-00176-F Document 1 Filed 02/20/04 Page 15 of 18

Constitution by requiring them to forfeit these rights in exchange for a
governmental benefit.
WHEREFORE, Plaintiffs respectfully pray that the Court grant the relief set forth

hereinafter in the prayer for relief.

PRAYER FOR RELIEF
WHEREFORE, Plaintiffs respectfully pray that the Court:
a. Declare that the University Policy and practices described in this Complaint are
unconstitutional on their face because they violate the rights to freedom of speech,
freedom of the press, due process, equal protection, and free exercise of religion, all
guaranteed to the Plaintiffs and others under the Constitution of the United States and by
operation of federal law;
b. Declare that the University Policy and practices, described in this Complaint are
unconstitutional as applied or threatened to be applied to the activities of Plaintiffs,
described in this Complaint, because they violate the Plaintiffs’ rights to freedom of
speech, freedom of the press, due process, equal protection, and free exercise of religion,
all guaranteed to the Plaintiffs and others under the Constitution of the United States and
by operation of federal law;
c. Issue a preliminary and permanent injunction against the Defendants, their agents,
officials, servants, employees, and any other persons acting in their behalf, from
enforcing said Policy and practice against the Plaintiffs and;
d. Grant to Plaintiffs an award of actual and nominal damages in an amount deemed

appropriate by this Court;

15

 

Case 5:04-cv-00176-F Document 1 Filed 02/20/04 Page 16 of 18

e. Grant to Plaintiffs an award of their costs of litigation, including reasonable

attomeys’ fees and expenses; and,

f. Grant such other and further relief as this Court deems just and proper.

16

 

Case 5:04-cv-00176-F Document 1 Filed 02/20/04 Page 17 of 18

414
Respectfully submitted this ,Q day of February, 2004.

Attomeys for Plaintiffs,

ALLIANCE DEFENSE FUND LAW CENTER

Benj amin W. Bull+

Arizona State Bar No. 009940
Alliance Defense Fund Law Center
15333 N. Pima Road, Suite 165
Scottsdale, Arizona 85260

Phone: (480) 444-0020

Fax: (480) 444-0025

W\/ /4:6 ,
-/Sfep@ L. C(ale

Stephen L. Cale, PLLC

Oklahoma Bar #: 18266

3523 Norrhwest 36“‘

Oklahoma City, OK 73112

Phone: (405) 946-7272

Fax: (405) 946-7275

*Application for admission pending
+Motion pro hac vice to be submitted

Kevin Theriot*

Georgia Bar No. 373095
Alliance Defense Fund

Midwest Regional Service Center
15660 w. 135th street

Olathe, Kansas 66062

Phone: (913) 829-7755

Fax: (913) 829-7780

17

 

Case 5:04-cv-00176-F Document 1 Filed 02/20/04 Page 18 of 18

Dated: February 19 ,2004

DECLARATION UNDER PENALTY OF PERJURY

Pursuant to 28 U.S.C. § 1746, I hereby declare, under penalty of perjury under the
laws of the United States of America, that the foregoing is true and correct.

%%7 W

Ricky Thomas

Dated: February f g , 2004

DECLARATION UNDER PENALTY OF PERJURY

Pursuant to 28 U.S.C. § 1746, l hereby declare, under penalty of perjury under the
laws of the United States of America, that the foregoing is true and correct.

 

s Wickett "S

18

